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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

ZUFFA, LLC d/b/a Ultimate Fighting
Championship,
                                                    Civil Action No. 2:19-CV-08889-KSH-CLW
                      Plaintiff,


v.

Reslan Y oughar, et al,
                                                   PRETRIAL SCHEDULING ORDER


                      Defendants.



       THIS MATTER having co~e before the Court fo/ a Sf?eduling conference p_ursuan~ to
Rule 16 of the Federal Rules of Civil Procedure on      ~'f_/17         ,
                                                                 and the parties havmg
reviewed the Court's Civil Case Management Order arwe V~ the Local Civil Rules, and for
good cause shown,

       IT IS on this day o f # •

       ORDERED THAT the next event in this matter will be {,,.      J/1,{,(YJ   /y-<11'(.L , fr, k,_
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       FURTHER ORIYEllED that this matter will pro~eed as follows:


1.     Fact Discovery Deadline. Fact discovery is to remain open through December 15,
       2019. All fact witness depositions must be completed by the close of fact discovery.
       No discovery is to be issued or engaged in beyond that date, except upon application
       and for good cause shown.

2.     Motions to Add New Parties. Any motion to add new parties, whether by amended or
       third-party complaint, must be electronically filed no later than September 1, 2019.

3.     Motions to Amend Pleadings. Any motion to amend pleadings must be electronically
       filed no later than September 1, 2019.

4.     Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no later
       than August 22, 2019.

5.     Interrogatories. The parties may serve interrogatories limited. to fifteen (15)
        single questions including subparts, on or before, which shall be responded to by
        October 15, 2019.

6.     Document Requests. The parties may serve requests for production of documents on or
       before September 15, 2019, which shall be responded to by October 15, 2019.
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7.     Depositions. The number of depositions to be taken by each side shall not exceed four (4).

8.     Electronic Discovery. The parties are directed to Rule 26(±), as amended, which, inter
       alia, addresses preservation of discoverable information, discovery of electronically stored
       information, and claims of privilege or work product protection. The parties are also
       directed to Local Civil Rule 26.1 (d) which describes the obligations of counsel with regard
       to their clients' information management systems.

9.     Discovery Disputes. Please refer to the Court's Civil Case Management Order.

10.    Motion Practice. Please refer to the Court's Civil Case Management Order.

11.    Expert Reports. All affirmative expert reports shall be delivered by Not Applicable.
       All responsive expert reports shall be delivered by_ _ _ . Depositions of all experts to be
       completed by_ __

12.    Form and Content of Expert Reports. All expert reports must comport with the form
       and content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as
       to any opinions or base those opinions on facts not substantially disclosed in the expert's
       report.

 13.   Extensions and Adjournments. Please refer to the Court's Civil Case Management
       Order.

 14.   Protective Orders. Any proposed confidentiality order agreed to by the parties must
       strictly comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please also
       refer to the Court's Civil Case Management Order.

 15.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
       addressed by this Order or the Court's Civil Case Management Order.

 16.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
       OTHER ORDERS WILL RESULT IN SANCTIONS.




                                             s/ Cathy L. Waldor
                                             CATHY L. W ALDOR
                                             United States Magistrate Judge




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